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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    ELIZABETH SANCHEZ KENNEDY
              Plaintiffs,             (GHIRP) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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     SUPPLEMENTAL DECLARATION OF ELIZABETH SANCHEZ KENNEDY
   Executive Director, Galveston-Houston Immigrant Representation Project (GHIRP)


I, Elizabeth Sanchez Kennedy, make the following statements on behalf of myself and Galveston-
Houston Immigrant Representation Project (GHIRP). I certify under penalty of perjury that the
following statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-17) as if fully set forth herein.
   2. My name is Elizabeth Sanchez Kennedy, and I am the Executive Director at the Galveston-
      Houston Immigrant Representation Project. GHIRP is a legal services organization that
      was launched in October 2020 with a mission to build a resilient, diverse community by
      providing comprehensive representation and holistic legal services to immigrants in need.
      GHIRP’s legal services range from outreach and education to complex litigation in the
      Galveston-Houston area. Our legal team provides holistic and comprehensive
      representation to immigrants in the community, including unaccompanied minors, adults,
      and women, children, and families.
   3. Despite the partial contract termination, GHIRP’s Immigrant Children & Youth team
      continues to provide legal services to detained and released unaccompanied immigrant
      children in the Galveston-Houston area. For example, since this lawsuit was filed, GHIRP
      has performed the following work for existing clients: filed six I-765 applications, two I-
      589 applications, two motions to terminate, one motion to reopen, one T-visa application,
      and at least eleven (11) filings in state court for clients who qualify for Special Immigrant
      Juvenile status; and attended two hearings in Immigration Court and two hearings in state
      court. We are relying on general operations funding (reserved for other purposes and
      programs) to continue meeting our ethical obligations to our clients, including filing
      deadlines and court appearances, and serve children with emergency needs that have arisen
      since the partial contract termination. GHIRP management will implement staffing
      decisions, including layoffs, next week.
   4. GHIRP’s casework continues at a high volume, as the courts are moving forward on cases
      and the detained dockets are moving at an expedited pace. In the next month, nine (9) of
      our clients have hearings in Immigration Court, including one Individual Hearing. GHIRP
      attorneys also have multiple hearings in state court scheduled for later this month for clients
      who could lose eligibility for Special Immigrant Juvenile status if we are not able to prove
      up their cases.




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5. GHIRP mentors and supervises pro bono attorneys we have engaged on several clients’
   cases, particularly in the state court proceedings that provides the basis to seek Special
   Immigrant Juvenile status. We often recruit and engage pro bono attorneys to handle this
   portion of the immigration case because it can be time consuming, procedurally
   complicated, and very fact-specific. Among our clients with pending state court
   proceedings by pro bono attorneys are two sisters, ages 14 and 15, from Central America,
   who currently live in Galveston with their grandmother, and were previously abandoned
   by their father. GHIRP represents the girls in their Immigration Court proceedings and our
   legal team needs to be able to provide ongoing mentorship to the pro bono attorney who is
   handling their case in the local court.

6. GHIRP’s legal team has continued preparing pro se detained children for their hearings in
   immigration court and provides “Friend of Court” services for those required to appear
   before the Immigration Judge. After the implementation of so-called ‘rocket dockets’
   nationwide, the local ICE Field Office Juvenile Coordinators (FOJC) filed Notices to
   Appear immediately for the currently detained children. Cases are being fast-tracked, and
   children are being rapidly scheduled for Master Calendar Hearings on the Houston detained
   juvenile docket.

7. On April 2, 2025, a GHIRP attorney appeared as Friend of Court for the detained docket.
   The Immigration Judge asked about the status of the funding and exclaimed her gratitude
   when we informed her that we would continue providing these services, at least
   temporarily. She told our attorney that we are “invaluable” to her and explained that the
   prior week had been very difficult because many detained children at other facilities had
   hearings, but no ORR-funded attorneys had appeared as Friend of Court due to the loss of
   funding.

8. Through GHIRP’s non-representational legal services at our two assigned ORR facilities,
   we have encountered several children requiring immediate legal assistance. The children
   would have previously been categorized as mandatory or priority representation cases
   under the contract activities requirements. However, now we face the difficult decision of
   representing the children without funding or leaving them to fend for themselves in
   situations that almost certainly will result in their immediate deportation.

9. Among the detained children we have met recently is a tender aged child who was taken
   into immigration custody after a local traffic stop. Immigration officials placed him in ORR
   custody which separated from his parents, who have lawful status, and he is now
   experiencing extreme trauma exacerbated by the fact that he is at imminent risk of
   deportation. Additionally, GHIRP is working with five siblings who were recently
   orphaned en route to the United States. Due to recent, heightened ORR evidentiary



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       requirements for sponsors, the children face prolonged detention if GHIRP is not able to
       advocate for their interests. Finally, we met two siblings, aged 10 and 13, who were
       trafficked by a family member and were placed in ORR custody after local police rescued
       one of the children from the streets. All of these children require child-friendly, trauma-
       informed legal services to ensure their safety and protection.

   10. As a result of recent events, it has become more evident than ever that ORR facility staff
       at the two shelters we serve are appreciative of the work we do as legal service providers.
       When discussing the partial contract termination with one of our facilities, a senior shelter
       staff member stated, “we deeply appreciate the support you offer to the children in our
       program.”


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 3rd of April 2025, in Houston, Harris County, Texas.

 /s/ Elizabeth Sanchez Kennedy
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Elizabeth Sanchez Kennedy
Executive Director
Galveston-Houston Immigrant Representation Project (GHIRP)




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